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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION

Tony Doirelle Lewis #659963

                      Plaintiff,                    Case No. 2:15-cv-00202

v.                                                  HON. GORDON J. QUIST

Unknown Axley, et al

                      Defendants.
                                       /

                                            ORDER

       Counsel for Defendant filed a motion to adjourn the August 23, 2018 bench trial

(ECF #76).

       For reasons stated in the motion and brief, defendant's motion is GRANTED.

       Trial in this matter will be rescheduled to September 18, 2018 at 9:30 a.m. before

Hon. Gordon J. Quist, 499 Federal Building, 110 Michigan, NW, Grand Rapids, Michigan.

       The final pretrial and settlement conference currently scheduled for July 18, 2018

before the undersigned in Grand Rapids, is adjourned. The final pretrial and settlement

conference in this case will be held September 4, 2018 at 10:00 a.m. before the

undersigned. This conference will be done by telephone. Plaintiff is to provide a phone

number to counsel for defendants where he can be reached on this date. Counsel for

defendants shall initiate the call with plaintiff and call the court at 906-226-3854.

       All other deadlines from the March 14, 2018 Order (ECF #69), will remain in effect.

       IT IS ORDERED



Dated: July 9, 2018                            /s/ Timothy P. Greeley
                                            TIMOTHY P. GREELEY
                                            U.S. MAGISTRATE JUDGE
